                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                      :
In re:                                                :        Chapter 11
                                                      :
M & G USA CORPORATION, et al.,1                       :        Case No. 17-12307 (BLS)
                                                      :
                 Debtors.                                      (Jointly Administered)
                                                      :
                                                      :
                                                      :        Ref: Docket No. 173, 490, 537, 596,
                                                      :        665, 864

                        DEBTORS' REPLY TO OBJECTION OF
                  BRICKSTREET MUTUAL INSURANCE COMPANY TO
              ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACT

         The above-captioned debtors and debtors-in-possession (collectively, the "Debtors")

hereby submit this reply (this "Reply") to the objection [Docket No. 596] (the "Objection") of

BrickStreet Mutual Insurance Company ("BrickStreet") to the Debtors' motion [Docket No. 665]

(the "Motion") to sell the Apple Grove Assets (as defined below). In support of this Reply, the

Debtors respectfully represent as follows:

                                              BACKGROUND

         1.      On October 24, 2017, M&G Polymers USA, LLC filed a voluntary petition for

relief under chapter 11 of title 11 of the United States Code (the "Bankruptcy Code") and,

thereafter, on October 30, 2017 (the "Petition Date"), each of the other Debtors commenced

chapter 11 cases before this Court (together with the chapter 11 case of M&G Polymers, the

"Cases"). The Debtors continue in possession of their properties and are managing their

businesses, as debtors in possession, pursuant to sections 1107(a) and 1108 of the Bankruptcy
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                   The Debtors are the following twelve entities (the last four digits of their respective taxpayer
identification numbers follow in parentheses): M & G USA Corporation (3449), M & G Resins USA, LLC (3236),
M & G Polymers USA, LLC (7593), M & G Finance Corporation (4230), M&G Waters USA, LLC (2195), Mossi &
Ghisolfi International S.à r.l. (1270), M&G Chemicals S.A. (N/A), M&G Capital S.à r.l. (7812), M & G USA
Holding, LLC (3451), Chemtex International Inc. (7695), Chemtex Far East, Ltd. (2062) and Indo American
Investments, Inc. (9208). The Debtors' noticing address in these chapter 11 cases is 450 Gears Road, Suite 240,
Houston, Texas 77067.



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Code. On November 13, 2017, the United States Trustee for the District of Delaware appointed

an official committee of unsecured creditors in these Cases.

        2.       On December 21, 2017, the Debtors filed the Notice of Possible Assumption and

Assignment of Certain Executory Contracts and Unexpired Leases in Connection with Sale

[Docket No. 537] (the "Contract Notice"). The Contract Notice listed the Workers

Compensation and Employers Liability Insurance Policy issued by BrickStreet Mutual Insurance

Company in favor of M&G Polymers USA, LLC (the "Insurance Contract") as having a Cure

Cost (as defined in the Contract Notice) of $0.00. A true and correct copy of the Insurance

Contract is attached hereto as Exhibit A.

        3.       On February 1, 2018, the Court entered the Order Authorizing (I) the Sale of

Certain Assets of M&G USA Corporation and M&G Polymers USA, LLC Free and Clear of

Encumbrances and Liens; (II) the Assumption and Assignment of Certain Executory Contracts

and Unexpired Leases in Connection Therewith; and (III) Related Relief [Docket No. 864]

("Apple Grove Sale Order"). In the Apple Grove Sale Order, the Court authorized the sale

(the "Apple Grove Sale") of certain assets to Far Eastern Investment (Holding) Ltd. ("Far

Eastern"). The Debtors' rights under the Insurance Contract (the "Insurance Contract Rights")

are among the assets that Far Eastern seeks to acquire in the Apple Grove Sale. The Insurance

Contract provides certain insurance coverage for a one-year period ending July 1, 2018.

        4.       On January 3, 2018, BrickStreet filed the Objection, contesting the Debtors'

ability to transfer the Debtors' Insurance Contract Rights. BrickStreet does not object to either

(a) the Cure Cost for the Insurance Contract as set forth in the Contract Notice or (b) Far

Eastern's adequate assurance of future performance. Rather, BrickStreet argues that the Debtors

may not transfer the Insurance Contract Rights because the Insurance Contract is not an



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executory contract. See Objection ¶¶ 6-7 ("The Insurance Contract is no longer executory,

therefore, because no material performance remains to be performed by the Debtors on the

Insurance Contract. BrickStreet objects to any proposed assumption and assignment of the

Insurance Contract because it no longer is executory and therefore cannot be assumed and

assigned.") (citations omitted).

        5.       Prior to the hearing on the Apple Grove Sale, the Debtors and BrickStreet agreed

to continue the Objection to a later hearing. Nevertheless, because the Debtors and BrickStreet

have been unable to come to a consensual resolution, the Debtors must file this Reply to

BrickStreet's Objection.

                                               REPLY

       A.       The Insurance Contract Is Executory and May Be Assumed and Assigned
                Under Section 365 of the Bankruptcy Code

        6.       BrickStreet's sole objection to the Debtors' transfer of the Insurance Contract

Rights is that the Insurance Contract is not an executory contract, and thus may not be assumed

and assigned under section 365 of the Bankruptcy Code. BrickStreet, however, is incorrect—the

Insurance Contract is executory, and thus may be assumed and assigned.

        7.       In the Third Circuit, courts apply the "Countryman" test in determining whether a

contract is executory. See In re LG Philips Displays USA, Inc., No. 06-10245 (BLS), 2006 WL

1748671, at *3 (Bankr. D. Del. June 21, 2006) (Shannon, J.). Under the Countryman test, a

contract is executory if both parties had material unperformed obligations as of the petition date.

See id.; see also In re Exide Techs., 378 B.R. 762, 766 (Bankr. D. Del. 2007) (Carey, J.) ("The

time for testing whether there are material unperformed obligations on both sides is when the

bankruptcy petition is filed.").




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          8.     Courts have previously held that a contract is executory if the contract parties

continue to have material contingent obligations, such as indemnification obligations. See In re

Broadstripe, LLC, 402 B.R. 646, 655 (Bankr. D. Del. 2009) (Sontchi, J.) (contract was executory

when debtor had continuing obligations to (a) maintain confidentiality of contract, (b) indemnify

counterparty and (c) abide by counterparty's bylaws); In re Safety-Kleen Corp., 410 B.R. 164,

167-68 (Bankr. D. Del. 2009) (Walsh, J.) (contract was executory when debtor had contingent

indemnification obligations); In re Preston, 53 B.R. 589, 591-92 (Bankr. M.D. Tenn. 1985)

(same).

          9.     Here, both parties had material unperformed obligations, including contingent

payment obligations, under the Insurance Contract on the Petition Date. Such obligations

include the following:

          (a)    BrickStreet's material unperformed obligations include:

                 (i)         Certain payment and defense obligations, such as the obligation (a) to pay
                             amounts for which the Debtors are liable that are covered under the
                             Insurance Contract and (b) to defend claims or proceedings asserted
                             against the Debtors for damages payable under the Insurance Contract
                             (Insurance Contract, p. 17, Part One, §§ B, C, D; p. 18-19, Part Two, §§ B,
                             D, E); and

                 (ii)        Certain additional continuing duties, such as continuing duties to
                             beneficiaries of the Insurance Contract (Insurance Contract, p. 18, Part
                             One, § H(3)).

          (b)    The Debtors' material unperformed obligations include:

                 (i)         Certain payment and reimbursement obligations, including the obligation
                             to reimburse BrickStreet for any payments in excess of the benefits
                             regularly provided by the applicable workers compensation law, including
                             those required by, among other things, (a) the Debtors' serious and willful
                             misconduct or (b) the Debtors' knowing employment of an employee in
                             violation of law (Insurance Contract, p. 18, Part One, § F);

                 (ii)        Certain disclosure and notification obligations, such as the obligation
                             (a) to notify BrickStreet of any work beginning in certain states and (b) to



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                             notify BrickStreet of any "change in ownership" (Insurance Contract,
                             p. 20, Part Three, §§ A(4), B; p. 28);

                 (iii)       Certain obligations in respect of records, including the obligation (a) to
                             maintain and provide certain records to BrickStreet and (b) to allow
                             BrickStreet to inspect certain records in connection with an applicable
                             audit (Insurance Contract, p. 21, Part Five, §§ F, G; p. 33; p. 36, § G);

                 (iv)        The obligation to allow BrickStreet to inspect applicable workplace
                             premises (Insurance Contract, p. 22, Part Six, § A; p. 36, § A);

                 (v)         With respect to the Debtors' rights against third parties that are liable for
                             any injury covered by the Insurance Contract, the obligation (a) to protect
                             such rights for BrickStreet's benefit and (b) to assist BrickStreet in
                             enforcing such rights (Insurance Contract, p. 18, Part One, § G; p. 20, Part
                             Two, § H);

                 (vi)        Certain other continuing duties, including the obligation (a) to comply
                             with all terms under the Insurance Contract, (b) to provide for immediate
                             medical and other services required by workers' compensation laws and
                             (c) to provide BrickStreet with applicable information for injured parties
                             (Insurance Contract, p. 20, Part Two, § I; p. 20-21, Part Four).2

        10.      The foregoing obligations, including the parties' contingent payment obligations,

demonstrate that the Insurance Contract is executory. See Broadstripe, 402 B.R. at 655 (contract

was executory based on debtor's contingent indemnification obligation); Safety-Kleen Corp., 410

B.R. at 167-68 (same); Preston, 53 B.R. at 591-92 (same). As a result, the Debtors may assume

and assign the Insurance Contract under section 365 of the Bankruptcy Code.

        11.      The Debtors are unaware of any legal basis to deny the proposed assumption and

assignment of the Insurance Contract to Far Eastern. For example, BrickStreet has cited no

"applicable law" that excuses BrickStreet from accepting performance from, or rendering

performance to, an entity other than the Debtors. See 11 U.S.C. § 365(c)(1). Accordingly, the


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                  The cases cited by BrickStreet are distinguishable and thus do not compel the conclusion that the
Insurance Contract is non-executory. See In re Surfside Resort and Suites, Inc., 344 B.R. 179, 186-87 (Bankr. M.D.
Fla. 2006) (court held insurance policy was non-executory based only on fact that debtor had already paid premium;
court did not consider other obligations possibly owed by debtor under insurance policy); In re Firearms Import and
Export Corp., 131 B.R. 1009, 1014 (Bankr. S.D. Fla. 1991) (court held insurance policy was non-executory because,
among other things, insurance policy provided coverage solely for prepetition period).


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Debtors respectfully submit that the Insurance Contract is an executory contract that the Debtors

may assume and assign to Far Eastern under section 365 of the Bankruptcy Code in connection

with the Apple Grove Sale.

       B.       The Debtors May Sell Their Insurance Contract Rights Under Section 363(b)
                of the Bankruptcy Code Regardless of Whether the Insurance Contract Is
                Executory

        12.      Even if, however, the Insurance Contract is not executory, the Debtors may still

sell their Insurance Contract Rights to Far Eastern under section 363 of the Bankruptcy Code.

        13.      As previously explained by this Court:

        Under the Bankruptcy Code, if a contract is not executory, a debtor may assign,
        delegate, or transfer rights and/or obligations under section 363 of the Bankruptcy
        Code, provided that the criteria of that section are satisfied. If a contract is
        executory, the debtor must also comply with section 365 of the Bankruptcy Code,
        which provides special rules governing the transfer of rights and obligations under
        a contract.

In re Am. Home Mortg. Holdings, Inc., 402 B.R. 87, 93 (Bankr. D. Del. 2009) (Sontchi, J.).

Accordingly, even if the Insurance Contract is non-executory, the Debtors are still able to sell

their Insurance Contract Rights under section 363. See id. at 94 ("The Court reads [the Third

Circuit's] Folger Adam [decision] to stand for the [following proposition]: that section 363 of the

Bankruptcy Code permits a debtor to transfer its rights and obligations under a non-executory

contract . . . .") (citing Folger Adam Sec., Inc. v. DeMatteis/MacGregor JV, 209 F.3d 252 (3d

Cir. 2000).

        14.      Given that the Debtors have already demonstrated that the Apple Grove Sale

satisfies section 363(b) of the Bankruptcy Code,3 the Debtors respectfully submit that they are



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                  See Apple Grove Sale Order ¶¶ E, F, G, H, I, M (finding, among other things that (a) there was
adequate notice of the Apple Grove Sale; (b) there is a good business purpose for the Apple Grove Sale; (c) the
Apple Grove Sale marketing process was conducted in good faith; and (d) Far Eastern's offer to buy the assets in the
Apple Grove Sale is fair, reasonable and in the best interests of the Debtors' estates).


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free to sell their Insurance Contract Rights in connection with that sale. For these reasons, the

Court should overrule BrickStreet's Objection.4

       C.       BrickStreet May Still Enforce the Applicable Provisions of the Insurance
                Contract

        15.      It bears emphasis that BrickStreet is not without redress after the Debtors' transfer

of their Insurance Contract Rights. As an initial matter, it is worth noting that BrickStreet

expressly agreed that its obligations under the Insurance Contract would not be affected by the

Debtors' bankruptcy. See Insurance Contract, p. 18, Part One, § H(2) ("[The Debtors'] default or

the bankruptcy or insolvency of [the Debtors] or [their] estate will not relieve [BrickStreet] of

[its] duties under this insurance after an injury occurs."); p. 20, Part Two, § I ("The Bankruptcy

or insolvency of [the Debtors or their] estate will not relieve [BrickStreet] of its obligations

under this Part."). Thus, this Court should not allow BrickStreet to use the Debtors' bankruptcy

as a means to free itself from its ongoing obligations under the Insurance Contract.

        16.      Further, after the Apple Grove Sale is consummated, BrickStreet is free to enforce

any applicable provisions of the Insurance Contract. For example, the Insurance Contract

contemplates assignment to a successor in connection with a "change in ownership" and appears

to provide BrickStreet with certain rights following such a change in ownership. See Insurance

Contract, p. 28 (setting forth certain BrickStreet rights in event of "change in ownership").

Accordingly, any claim by BrickStreet that it is without redress is incorrect—after

consummation of the Apple Grove Sale, BrickStreet is free to enforce, in its discretion, any

continuing, applicable Insurance Contract provisions.



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                   The Debtors also believe that none of the Insurance Contract's provisions prevent the Debtors
from selling their Insurance Contract Rights under section 363. E.g., Am. Home, 402 B.R. at 101-03 (holding that,
under section 363(f)(5), debtor could sell non-executory contract rights to buyer, notwithstanding anti-assignment
provision; alternatively holding that such provision was unenforceable under section 363(l)).


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                                           CONCLUSION

         17.      For the reasons set forth herein, Debtors respectfully request that the Court

 overrule the Objection and approve the sale of the Insurance Contract Rights in connection with

 the Apple Grove Sale.

Dated: February 16, 2018                             PACHULSKI STANG ZIEHL & JONES LLP

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